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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

GREGORY GREENE, individually and on
behalf of all others similarly situated,
                                           Case No. 1:14-cv-01437
                    Plaintiffs,
                                           Hon. Gary Feinerman
v.

MARK KARPELES, an individual

                    Defendant.




     OPPOSITION OF GREGORY GREENE TO MOTION TO EXCLUDE EXPERT
        REPORT AND TESTIMONY OF PROFESSOR CAROL R. GOFORTH
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                                         INTRODUCTION

       The gist of Plaintiff Gregory Greene’s claim is that Defendant Mark Karpeles

misrepresented the safety and security of Mt. Gox by making certain representations in the site’s

Terms of Use—specifically, that Mt. Gox held all users’ assets (when it did not) and that all

trades on Mt. Gox would be with other users using real assets (when they were not). Greene

claims that these misrepresentations induced him and others to entrust Mt. Gox with cash and

bitcoins when they otherwise would not have. He contends this claim is litigable on a class basis

because the nature of the misrepresentations permits a jury to infer reliance on a classwide basis.

       The expert opinion of Professor Carol R. Goforth addresses this latter piece of the puzzle.

Professor Goforth has three decades’ worth of academic expertise in the structuring and function

of commodities and securities markets and, for the last few years, has applied that expertise to

cryptocurrencies. Based on that expertise, and buttressed by the historical record, Professor

Goforth opines that Karpeles’s misrepresentations concern the type of information that bitcoin

investors would consider critical to their decision about where to buy cryptocurrencies or store

their assets. She ultimately concludes that absent Karpeles’s misrepresentations, any rational user

would have abandoned Mt. Gox long before it collapsed.

       Karpeles moves to exclude this opinion, but his arguments are not persuasive. Initially,

Karpeles challenges the inclusion of a narrative background section in Professor Goforth’s

report, but the Rules permit—and indeed require—Professor Goforth to state the facts she

considered and the basis for her opinions. Further, this narrative goes beyond the facts in the

record because Professor Goforth’s specialized knowledge helps put the facts at issue here into

context. Karpeles also suggests that Professor Goforth’s opinions are not grounded in her

expertise, but this is plainly untrue. Karpeles is thus left to pick nits (including by noting that she




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references an uncontroversial legal principle), but he identifies no issue worthy of excluding

Professor Goforth’s testimony. The motion should be denied.

                                           BACKGROUND

        Carol R. Goforth is a University Professor and the Clayton N. Little Professor of Law at

the University of Arkansas (Fayetteville) School of Law. (Ex. A1 (Decl. of Carol R. Gofoth ¶ 3).)

She is also a member of the faculty network at the Center for Blockchain Excellence at the Sam

M. Walton School of Business, also at the University of Arkansas. (Id.) Professor Goforth

specializes in business associations and securities regulation, and has become a leading expert on

the regulation of cryptoassets and transactions. (Id. ¶ 4.) She practiced for five years with a focus

on securities, corporations, and commercial law, before accepting a position as an Assistant

Professor with a similar focus. (CV (attached to Ex. A) at 2.) Goforth spent the next three

decades with a teaching and research focus on securities law and business associations. (Id. at 1.)

        Beginning in 2018, she turned her focus to cryptocurrencies and the regulation of

cryptotransactions. (Ex. B (Excerpts from the Dep. of Carol R. Goforth), 14:10-11.) This

research builds on her previous expertise in securities law. (Id. 15:22-17:4.) As she puts it,

“underlying the predicate for that expertise [in cryptocurrencies] … is my familiarity with the

securities laws [and] the way in which other kinds of exchanges are operated[.]” (Id. 20:11-21.)

In the past three years, she has authored more than a half-dozen law review articles on the

subject of crypto-currency and cryptoasset regulation. (Ex. A ¶ 5.) She also has authored several

blog posts on similar subjects, including on the Oxford Business Law Blog, which is published

by the law faculty at Oxford University in the United Kingdom. (CV (attached to Ex. A) at 6.)

She also is the author of the first comprehensive textbook in the crypto space, Regulation of



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        All references to Exhibits refer to Exhibits to the declaration of J. Aaron Lawson, filed herewith.


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Cryptotransactions, which was published by West earlier this year. (Id. at 2.) She has designed

and taught two classes on cryptocurrencies, accepted multiple speaking engagements dealing

with cryptocurrencies, and has recently been contacted by a crypto exchange to serve on its

board of advisors. (Ex. A, ¶¶ 6-7; Ex. B, 22:7-11.)

        In this case, Professor Goforth relied on this extensive background knowledge, as well as

several case-specific documents, principally the deposition transcript of Mark Karpeles and the

Mt. Gox Terms of Use, to form her opinions. She opines that “[h]ad the [bitcoin] community

been aware of the sizable and growing deficit in the BTC and cash balances for the Mt. Gox

bitcoin exchange, it is virtually certain that users would have abandoned Mt. Gox.” (Ex. A, ¶ 45.)

“No rational investor would have knowingly chosen to put or keep bitcoin or currency on an

exchange with a bitcoin or cash deficit.” (Id. ¶ 63.) Thus, losses that were eventually suffered

“would have been avoided” had Mt. Gox’s issues been timely disclosed. (Id.)

        This opinion is based on Professor Goforth’s understanding of the regulation of securities

and commodities exchanges, and of cryptotransactions, and is buttressed by her read of the

historical record. (See, e.g., Ex. B, 29:1-11; 29:23-30:3; 33:10-34:1; 39:11-40:24; 55:19-57:13.)

Her report begins with a focused background on bitcoin, sourced principally from contemporary

internet reports. As she explains, the early price of bitcoin was volatile for several reasons. (Ex.

A, ¶ 15.) Exchanges arose from an increased need for platforms to “facilitate trading” as interest

in bitcoin grew. (Id. ¶ 16.) But when exchanges proved to be vulnerable to hacks or thefts, or

announced related shortfalls in customer-held assets, they invariably shut down as users

demanded the return of their assets. (Id. ¶¶ 29-32.) This behavior can be straightforwardly

explained: Like traditional markets, an exchange functions as a “trusted intermediar[y]” in a

trade. (Id. ¶ 53.) For bitcoin, the existence of a third-party in a transaction adds a layer of risk,




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particularly given that moving bitcoins onto an exchange is written to the blockchain and

irrevocable. (Id. ¶ 54.) Thus, users would have expected that third-party (i.e., the exchange) to

act honestly and in good faith. (Id. ¶¶ 53-54.) Goforth reached this conclusion based on her study

of bitcoin markets and users, and, more broadly, her 30 years of experience and understanding of

traditional markets and exchanges. (See, e.g., Ex. B, 109:5-21; 174:4-175:16.)

       Given this background, Professor Goforth also recounts relevant facts about Karpeles’s

operation of the Mt. Gox Exchange. Her report highlights the instances in which he concealed

evidence of the theft of assets from Mt. Gox. (Ex. A, ¶¶ 20-27; 33-38.) This discussion draws

heavily on Karpeles’s deposition. Professor Goforth also opines that the Terms of Use would

have reinforced the appearance of Mt. Gox as a “trusted intermediary,” and given users

confidence that the Exchange would operate on principles that “essentially amount to good faith

and fair dealing.” (Id. ¶¶ 48-52; see Ex. B, 137:18-21 (noting that the Terms of Use “further

confirms what I had already come to conclude” and were “a confirmation of ordinary practice”).)

       In light of her background knowledge regarding exchanges and exchange regulation, her

understanding of the historical record, and her informed interpretation of the Terms of Use and

Karpeles’s testimony, Professor Goforth reached the conclusion set out above, that “it is virtually

certain” that investors would have moved their assets off Mt. Gox were they fully informed of

the Exchange’s security issues and resulting asset deficits. (Ex. A, ¶¶ 45, 63.)

                                          ARGUMENT

       Fed. R. Evid. 702 governs the admissibility of expert testimony. The Rule provides:

       A witness who is qualified as an expert by knowledge, skill, experience, training,
       or education may testify in the form of an opinion or otherwise if:

       (a)     the expert’s scientific, technical, or other specialized knowledge will help
               the trier of fact to understand the evidence or to determine a fact in issue;
       (b)     the testimony is based on sufficient facts or data;



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        (c)     the testimony is the product of reliable principles and methods; and
        (d)     the expert has reliably applied the principles and methods to the facts of the
                case.

Fed. R. Evid. 702 establishes a “gatekeeping” role for the district judge. Kumho Tire Co., Ltd. v.

Carmichael, 526 U.S. 137, 152 (1999). The Court has “considerable leeway” in performing this

role. Id. “The objective of that requirement is to ensure the reliability and relevancy of expert

testimony[,] … to make certain that an expert … employs in the courtroom the same level of

intellectual rigor that characterizes the practice of an expert in the relevant field.” Id.

        The Rule 702 inquiry proceeds in two steps. First, the Court asks whether the expert is

qualified to testify as to the matters in question, and then whether her proposed testimony is

reliable and relevant. Gayton v. McCoy, 593 F.3d 610, 616 (7th Cir. 2010). As to qualification,

the issue is whether the expert is qualified to provide her specific opinions. See id. An expert

may be qualified by, among other things, knowledge or education. See Fed. R. Evid. 702. As to

reliability, the test for reliability of nonscientific experts is “flexible.” Kumho, 526 U.S. at 150.

When an expert offers an opinion based on nonscientific expertise, the bottom-line question is

whether she draws upon that expertise in offering her opinion on a relevant matter. See Gayton,

593 F.3d at 617; see also Kumho, 526 U.S. at 150 (“In other cases, the relevant reliability

concerns may focus on personal knowledge or experience.”). No one disputes relevance here.

        “The rejection of expert testimony is the exception rather than the rule.” Fed. R. Evid.

702, Advisory Committee Notes—2000 Amendments. The “question of whether the expert is

credible or whether his theories are correct … is a factual one that is left for the jury to determine

after opposing counsel has been provided the opportunity to cross-examine the expert regarding

his conclusions and the facts on which they are based.” Smith v. Union Pac. R. R., 2017 WL

2656583, at *3 (N.D. Ill. June 20, 2017). Indeed, “[d]eterminations on admissibility should not




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supplant the adversarial process; ‘shaky’ expert testimony may be admissible, assailable by its

opponents through cross-examination.” Gayton, 593 F.3d at 616.

I.       Professor Goforth Is Qualified to Provide Expert Testimony in this Case.

         Karpeles develops no challenge to Professor Goforth’s qualifications, but a brief word

about them is still in order. Fed. R. Evid. 702 allows for experts to be qualified by “academic

expertise,” which is what Professor Goforth offers here. See Smith v. Ford Motor Co., 215 F.3d

718 (7th Cir. 2000) (“extensive academic … expertise is certainly sufficient to qualify a potential

witness as an expert”) (citations and quotations omitted); Crisostomo v. Stanley, 857 F.2d 1146,

1153 n.18 (7th Cir. 1988) (medical doctor qualified by academic training to give expert opinion

in pharmacology even though that was not his area of practice); Victor J. Gold, 29 Fed. Prac. &

Proc. Evidence § 6264.1 (2d ed. 2020) (“Common indicia of expertise include membership in

learned or professional societies and authorship of books and articles in the field.”).

         Professor Goforth plainly has the academic expertise to qualify as an expert in exchanges,

cryptocurrencies, and crypto transactions, which she used to formulate her opinions. (Ex. B

164:3-16.) Indeed, she is one of the leading academics in the field. Although cryptocurrencies

have been the subject of serious academic inquiry for less than a decade, Professor Goforth is

steeped in the literature that does exist surrounding cryptocurrencies. (Id. 52:3-7.) Her work is, in

a very literal sense, pioneering in this nascent field. This academic expertise is doubly important

here because, as Professor Goforth acknowledged, “there [aren’t] a lot of concrete, reputable

studies” in existence concerning cryptocurrencies. (Id. 56:10-17.) Part of her expertise, then, is

separating fact from potential fiction when researching cryptocurrencies. (See, e.g., id. 110:2-16.)

         There can be no reasonable dispute that Professor Goforth is qualified.




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II.    Professor Goforth’s Testimony Is Reliable and Will Assist the Trier of Fact.

       Karpeles seeks to exclude Professor Goforth’s testimony because, he says, (1) any factual

narrative in Professor Goforth’s is improper, (2) the opinions expressed by Professor Goforth are

inadmissible because they are not based on any expertise, and (3) Professor Goforth offers

statements of law that experts are not qualified to provide. This line of argument misunderstands

the applicable law and severely misrepresents Professor Goforth’s opinions.

       A.      Professor Goforth may offer a discussion of various factual matters as part of
               her expert opinion.

       First, Karpeles takes issue with Professor Goforth’s discussion of factual sources, from

the record in this case and elsewhere, suggesting that this discussion either is not the subject of

expert testimony or renders her opinion unreliable. (Dkt. 502, at 5-9.) Karpeles is wrong on both

fronts and misses a key and permissive purpose of Professor Goforth’s testimony.

               1.      An expert may rely on facts in the case in developing her opinion, and may
                       recount those facts, particularly if the expert uses their specialized
                       knowledge to put them into context.

       Karpeles is incorrect that an expert opinion cannot include a factual narrative. His cases

stand for a much narrower point: An expert cannot simply summarize the evidence in the record

and offer their lay interpretation of those facts. As one of Karpeles’s cases explains, “an expert

cannot be presented to the jury solely for the purpose of constructing a factual narrative based on

record evidence.” Hostetler v. Johnson Controls, Inc., 2020 WL 4915668, at *5 (N.D. Ind. Aug.

21, 2020) (emphasis added). That is the role of lawyers. In other words, “expert testimony does

not assist the trier of fact when the jury is able to evaluate the same evidence and is capable of

drawing its own conclusions without the introduction of a proffered expert's testimony.” Aponte

v. City of Chicago, 2011 WL 1838773, at *2 (N.D. Ill. May 12, 2011).

       But this does not mean that experts are barred from relying on, recounting, or



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contextualizing facts that are part of the record. Hostetler itself notes that “an expert could draw

on her experience to provide insight that would be helpful in understanding the course of

events.” 2020 WL 4915668, at *5; see also Fed. R. Evid. 703 (establishing that an expert can

rely on facts “in the case”); Gentieu v. Tony Stone Images/Chicago, Inc., 214 F. Supp. 2d 849,

851 (N.D. Ill. 2002) (acknowledging that a proper subject of expert testimony would be to

provide “fact-based background information … that would be useful to aid the jury in

understanding the evidence properly admitted in the case”). Indeed, as the Seventh Circuit

recently explained, one permissible purpose of expert testimony is to put litigated facts “into

context” using the expert’s specialized knowledge. ViaMedia, Inc. v. Comcast Corp., 951 F.3d

429, 484 (7th Cir. 2020) (citing Lawson v. Trowbridge, 153 F.3d 368, 376 (7th Cir. 1998)).

       ViaMedia was an antitrust case. Id. at 434. One part of the claim was that the defendant

was closing off advertising markets to the plaintiff by means of a tying agreement. Id. at 444-46.

The plaintiff offered an expert who opined that the defendant’s steps to preclude the plaintiff

from these markets was “integral” to the agreement and left the plaintiff unable to compete. Id. at

484. The district court excluded this opinion, concluding that it was merely a “lay interpretation”

of the evidence, and that the expert had asserted that his conclusions were “a matter of

economics” without “undertak[ing] any expert assessment [to] arriv[e] at that conclusion.” 335

F. Supp. 3d 1036, 1065 (N.D. Ill. 2018). The Seventh Circuit reversed. While agreeing that the

expert “did summarize and repeat some relevant facts, he drew significantly on his expertise to

‘add something’—context and supporting information—to the record.” 951 F.3d at 484; see also,

e.g., Schall v. Suzuki Motor of Am., Inc., 2020 WL 1159756, at *6 (W.D. Ky. Mar. 10, 2020) (“It

is also proper for Dr. Balk to consider documentary evidence … and to interpret and summarize

the information he collected through this process to assist the jury in determining whether




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Defendants breached their post-sale duty to warn of the defect.”); In re Welding Fume Prod.

Liab. Litig., 2005 WL 1868046, at *16-17 (N.D. Ohio Aug. 8, 2005) (expert testimony proper

where expert had “sufficient expertise … as a general matter” to “review publicly available

medical and scientific literature” about welding fumes and “internal documents regarding the

same subject” and analyze them to “allow the trier of fact to better understand what the

documents do (and don’t) mean”); Voilas v. Gen. Motors Corp., 73 F. Supp. 2d 452, 461 (D.N.J.

1999) (disagreeing that expert’s report “is unreliable because he employed no particular

methodology, but merely reviewed GM’s own analyses of disposition plans. Indeed, an

experienced economist’s clarification and summary of a large corporation’s business plans could

certainly prove helpful to the average juror … even if doing so does not require employing any

particular methodology but simply a straightforward review of the corporation’s data.”).2

        Professor Goforth’s testimony here is similar: It provides context that will allow the jury

to understand the legal import of Karpeles’s misrepresentations. Professor Goforth discusses the

history of bitcoin exchanges, including why they arose and why some failed. She connects this

background to Mt. Gox, explaining the steps that were taken (e.g., via the Terms of Use and Gox

Bot) to show that Mt. Gox could serve as the “trusted intermediary” bitcoin users required, and

that Mt. Gox suffered many of the issues as other early exchanges that failed. (See, e.g., Ex. B

137:22-138:11.) Goforth notes, however, that Karpeles prevented Mt. Gox’s failings from



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         Karpeles’s principal case for the notion that “narrative” expert testimony must be excluded is
fully consistent with ViaMedia. Indeed, that case, Barnett v. City of Chicago, does not even involve the
exclusion of expert testimony. The opinion to which Karpeles cites (969 F. Supp. 1359 (N.D. Ill. 1997))
recites the district court’s findings of fact and conclusions of law after a bench trial, and the portion of the
opinion relied upon by Karpeles (page 1416) contains a discussion of the testimony of expert Paul
Kleppner (meaning it was not excluded, even after the trial). The court noted that Kleppner’s testimony
“summariz[ed] the last 70 years of political history of the City of Chicago,” which summary the judge
thought was “not objective” and “less than complete,” and which the judge found “so conclusory that its
value as an objective expert opinion was dubious.” 969 F. Supp. at 1416. “Dubious,” but admissible.


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becoming public. (See, e.g., id. 119:22-121:15.) She opines that had Karpeles been forthcoming,

it is “virtually certain” that Mt. Gox would have met the fate of its flawed contemporaries, and

class members’ losses would have been avoided. (Id. 126:22-127:4.) Goforth presents her

conclusion as informed by three decades’ worth of research of traditional markets and buttressed

by the historical record. (Ex. B 29:1-11; 158:11-159:3; 163:24-164:16; 174:12-175:16.)

Goforth’s testimony will help the jury understand why Karpeles’s misstatements mattered and

his motive for making them, issues going to the heart of the class’s claim. It also provides

circumstantial evidence that class members relied on the misrepresentations to their detriment.

       Further, her report does not merely provide a factual narrative reconstructed from the

record. Indeed, as Karpeles’s lawyer explored, Professor Goforth frequently interprets the record

evidence in light of her understanding of markets and market behavior, and of the historical

record. Pressed on the statements in her report, Goforth confirmed that she was “editorializing”

on available facts based upon her “view of general market behavior,” that is, the subject in which

she has specialized knowledge. (Id. 124:6-17; see also id. 130:2-17 (interpreting public

information based upon expertise); 156:13-23 (describing “analysis of public reports”.) Her

bottom line is informed by her understanding of securities markets and buttressed by historical

evidence that is not in the record. Bringing that specialized knowledge to bear on the facts here is

what expert testimony is for. See Newman ex rel. Newman v. McNeil Consumer Healthcare,

2013 WL 9936293, at *6 (N.D. Ill. Mar. 29, 2013) (admitting expert testimony where specialized

knowledge was gained through work as a consultant and researcher, noting that “Dr. Plunkett's

knowledge of the regulatory landscape and the mechanisms that the FDA relies on to perform its

duties allows her to interpret and analyze the information in the documents”).

               2.      An expert may rely on any materials that would be relied upon by experts
                       in the relevant discipline, even if they would be inadmissible.



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       Karpeles also complains that Professor Goforth may not rely on facts gleaned from

articles published on the internet. Here again, Karpeles misrepresents the applicable rule. As the

Seventh Circuit said in United States v. Brownlee, “it’s true that the entirety of an expert’s

testimony cannot be the mere repetition of the out-of-court statements of others, and that an

expert witness may not simply summarize the out-of-court statements of others as his testimony.

But the key words are ‘mere’ and ‘simply.’” 744 F.3d 479, 482 (7th Cir. 2014). Brownlee itself

noted that it will often be permissible for an expert to repeat verbatim what third parties have

said; indeed Brownlee’s conclusion was that it had been an abuse of discretion not to let the

expert quote a particular conversation in the context of that case. See id. What Brownlee makes

clear is that an expert must add something and cannot simply repeat others.

       Karpeles pretends there is a special rule against an expert’s use of internet-based sources

(Dkt. 502, at 6), but that rule does not appear in any case. “An expert witness is permitted to rely

on any evidence … that experts in the witness’s area of expertise customarily rely on.”

Brownlee, 744 F.3d at 481-82 (emphasis added). Karpeles does not argue that cryptocurrency

experts do not rely on internet reporting about cryptocurrency. And given that the field is very

technology-forward, it would be unusual for relevant materials not to come from the internet.

       The cases cited by Karpeles to support his supposed rule deal instead with an expert’s

reliance on insufficient facts or data. See LG Elecs. v. Whirlpool Corp., 2010 WL 3613814, at *5

(N.D. Ill. Sept. 3, 2010) (expert could not testify to other companies’ use of the word “steam” in

adverting without verifying how the relevant appliances worked); Makor Issues & Rights, Ltd. v.

Tellabs, Inc., 2010 WL 2607241, at *5 (N.D. Ill. June 23, 2010) (expert’s internet searches did

not establish full universe of publicly available information during the class period). These cases

do not establish any rule specific to the use of internet sources. See Alfa Corp. v. OAO Alfa Bank,



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475 F. Supp. 2d 357, 361-62 (S.D.N.Y. 2007) (“[I]t is not clear that internet sources in general,

or the ones cited by Mr. Muravnik in particular, are inherently unreliable. … Here, even if the

expert’s opinion were largely or entirely based upon Wikipedia and other internet sites—which it

is not—the analogous solution would be to permit Mr. Muravnik to testify and to allow the

parties to apply the tools of the adversary system to his report.”). Neither does Karpeles’s

contention that the materials are hearsay carry weight. See Fed. R. Evid. 703 (“If experts in the

particular field would reasonably rely on those kinds of facts or data in forming an opinion on

the subject, they need not be admissible for the opinion to be admitted.”). Besides, he does not

identify facts from these sources that he contends are wrong.3

        In any event, “the reliability of the data itself is not the subject of the Daubert inquiry.”

Manpower, Inc. v. Ins. Co. of Pa., 732 F.3d 796, 808 (7th Cir. 2013). “The soundness of the

factual underpinnings of the expert’s analysis” is a matter for the trier of fact. Smith, 215 F.3d at

718. Karpeles may argue at trial that the basis for Goforth’s opinion is reason to doubt her

conclusions, but that goes to weight, not admissibility.4




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         To the extent Professor Goforth’s analysis builds on facts in the record, Greene agrees that those
facts should be presented to the jury through percipient witnesses, in particular Mark Karpeles. See, e.g.,
LG Elecs. v. Whirlpool Corp., 2010 WL 3397358, at *6 (N.D. Ill. Aug. 24, 2010). But that wouldn’t
prevent Professor Goforth from highlighting what she considers the most relevant parts of his testimony
and explaining why. See In re Air Disaster at Lockerbie Scotland on Dec. 21, 1988, 37 F.3d 804, 826 (2d
Cir. 1994) (“Expert testimony may be based on other testimony or evidence obtained at trial.”). As to the
historical facts relies upon by Professor Goforth, they are appropriately part of her testimony because
there are no percipient witnesses available to establish those facts. See In re Welding Fume Prod. Liab.
Litig., 2005 WL 1868046, at *17 n.31. Any challenge to her recitation of those facts is better left for a
pre-trial motion in limine or trial objection. See In re Ethicon, Inc., Pelvic Repair Sys. Prod. Liab. Litig.,
No. 2:12-CV-4301, 2014 WL 186872, at *16 (S.D.W. Va. Jan. 15, 2014) (“These statements provide the
factual basis for Dr. Margolis’s opinions and are therefore helpful for the jury to understand Dr.
Margolis’s opinions. Further, if Ethicon contends that certain statements are inadmissible hearsay, it may
object to them at trial. A Daubert motion is not the proper method of excluding hearsay.”).
4
         Karpeles argues that an expert cannot, under any circumstances, rely on the work of others
without independently verifying it. (Dkt. 502 at 4.) That is incorrect: “[A]n expert witness is not required
to verify all the facts on which he relies.” Tilstra v. BouMatic LLC, 791 F.3d 749, 753 (7th Cir. 2015).


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       B.      Experts may give opinions on straightforward matters so long as they use
               their specialized knowledge in reaching their conclusions.

       Second, Karpeles is wrong that Professor Goforth’s opinions are not the product of her

expertise. Professor Goforth’s bottom line is that no rational investor would have kept assets on

Mt. Gox had they been informed of the state of the Exchange. Karpeles seeks to exclude this as a

“common sense” conclusion. (Dkt. 502, at 8.) And while Greene agrees that this opinion is

derived straightforwardly from the facts in the case and from the additional context Professor

Goforth provides, that does not mean that it isn’t properly the subject of expert testimony.

       First, a “court is not compelled to exclude the expert just because the testimony may, to a

greater or lesser degree, cover matters that are within the average juror’s comprehension.”

United States v. Hall, 93 F.3d 1337, 1342 (7th Cir. 1996). “An expert’s opinion may ‘overlap[ ]

with the jurors’ own experiences’ or ‘cover matters that are within the average juror’s

comprehension,’” so long as the expert also brings to bear their specialized knowledge.

ViaMedia, 951 F.3d at 484; see also In re Fluidmaster Inc., Water Connector Components Prod.

Liab. Litig., 2017 WL 1196990, at *8 (N.D. Ill. Mar. 31, 2017) (“Thus, the fact that some of the

underlying premises of Dr. Rao’s opinion may, in part, be derived from generally known facts

does not remove his opinions from the ‘specialized knowledge’ encompassed by Rule 702.”).

       Next, expert opinions need not be “earth-shattering.” Lawson, 153 F.3d at 376 (affirming

decision to admit expert testimony that, inter alia, concealed knives in bars are dangerous).

Indeed, “even when jurors are well-equipped to make judgments based on their own knowledge

and experience, expert testimony can still be helpful by bringing specialized knowledge that

could lend support to a jury’s inference and generally be helpful to the jury.” Sommerfield v. City

of Chicago, 254 F.R.D. 317, 337 (N.D. Ill. 2008).




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        Professor Goforth’s opinion does at least that much. True enough, a jury may look at

Karpeles’s testimony and conclude that his misrepresentations were material and made to induce

users to keep assets at Mt. Gox. But that does not mean that Professor Goforth adds nothing. She

brings critical background information about what bitcoin investors expected from exchanges,

what happened to other exchanges in analogous situations, and how those expectations sync up

with the expectations of investors involved in more traditional exchanges. (See, e.g., Ex B

163:17-164:16 (explaining that while average people could form opinions as to the importance of

Karpeles’s actions, Professor Goforth’s knowledge, background, and research provides important

context).) At the very least, this testimony “could lend support to a jury’s inference.” Id.

        Karpeles’s insistence that Professor Goforth employs “[no] particular methodology” also

falls flat. (Dkt. 502, at 8.) “In a case such as this, where an expert is proffered to testify regarding

non-scientific matters, the relevant reliability concerns will focus upon personal knowledge and

experience of the witness and the methodology used will be applying that experience [or

knowledge] to the facts of the case.” Jackson v. City of Pittsburgh, 2010 WL 3222137, at *4

(W.D. Pa. Aug. 13, 2010) (citation omitted). An expert who applies their non-scientific expertise

to the facts of the case has used a permissible methodology. See ViaMedia, 951 F.3d at 484.

        Karpeles strains to fit Professor Goforth’s opinions within the rule that “an expert’s ipse

dixit is inadmissible.” Wendler & Ezra, P.C. v. Am. Int’l Grp., Inc., 521 F.3d 790, 791 (7th Cir.

2008). (Dkt. 502, at 10-14.) The argument goes nowhere. Professor Goforth sets forth the

historical information she considers relevant and draws a line from that to the circumstances

present here, before extrapolating to reach her own opinion, which she shows is consistent with

the historical record from that time. This is a far cry from the type of bare-bones reports properly

excluded as mere ipse dixit. In Wendler & Ezra, for instance, an expert reported the output of a




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software program, but “did not state, however, what software had been employed, how it

worked, what data had been provided to the program, and what if anything had been done to”

rule out an obvious alternative explanation. Id. Similarly, in Mid-State Fertilizer Co. v. Exch.

Nat’l Bank of Chi., 877 F.2d 1333, 1339 (7th Cir. 1989), the court held properly excluded a bare

bones expert declaration that “presented nothing but conclusions—no facts, no hint of an

inferential process … .” But that is not what Goforth presents here: Her report is chock full of

relevant facts—indeed, Karpeles moves to exclude 45 paragraphs of her report simply because

they include facts. And the “inferential process” employed by Professor Goforth is apparent from

her report. This is nothing like the bare-bones affidavits found to be unhelpful to a jury.

       C.      A single stray statement of law that is not on an issue that will be the subject
               of jury instructions is not a basis for exclusion.

       Last, Karpeles’s complains that Professor Goforth includes a single statement of law in

paragraph 54 of her report. (Dkt. 502, at 14-15.) The sentence in question reads: “Not only is it

customary to assume that individuals have read the contracts they sign (including such

documents as the Terms of Use), but even for Mt. Gox users who did not actually read such

terms, this would have been the customary way in which crypto exchanges were set up to

operate.” And while “[e]xpert testimony as to legal conclusions that will determine the outcome

of a case is inadmissible,” In re Ocean Bank, 481 F. Supp. 2d 892, 898 (N.D. Ill. 2007), there can

be no suggestion that this brief legal aside will determine the outcome of the case. Nor does it

cover an area “on which the judge will instruct the jury.” United States v. Sinclair, 74 F.3d 753,

757 n.1 (7th Cir. 1996). Goforth’s inclusion of an uncontested legal principle within a broader

discussion of why Karpeles’s conduct mattered is not a basis for exclusion under Rule 702.

                                         CONCLUSION

       The motion to exclude should be denied.



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Date: November 10, 2020              By: /s/J. Aaron Lawson
                                        One of Plaintiff’s Attorneys

                                     Jay Edelson
                                     jedelson@edelson.com
                                     Benjamin S. Thomassen
                                     bthomassen@edelson.com
                                     Edelson PC
                                     350 North LaSalle Street, 14th Floor
                                     Chicago, Illinois 60654
                                     Tel: 312.589.6370
                                     Fax: 312.589.6378

                                     Rafey Balabanian
                                     rbalabanian@edelson.com
                                     J. Aaron Lawson
                                     alawson@edelson.com
                                     Edelson PC
                                     123 Townsend Street, Suite 100
                                     San Francisco, California 94107
                                     Tel: 415.212.9300
                                     Fax: 415.373.9495

                                     Counsel for Plaintiff




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